Case 3:03-cr-30013-DEW-KLH            Document 367         Filed 02/13/13      Page 1 of 2 PageID #:
                                             1226



                                UNITED STATES DISTRICT COURT

                                WESTERN DISTRICT OF LOUISIANA

                                       MONROE DIVISION

 UNITED STATES OF AMERICA                               CR. ACTION NO. 03-30013-03

 VERSUS                                                 JUDGE ROBERT G. JAMES

 MARVIN EUGENE CHAPPELL                                 MAG. JUDGE KAREN L. HAYES

                                    MEMORANDUM ORDER

        Pending before the Court is a letter motion filed by Defendant Marvin Chappell

 (“Chappell”) [Doc. No. 366]. Chappell moves the Court for an order “CONFIRMING that I

 have been in federal custody since April 22, 2003 (4-22-2003) and should therefore be given

 prior jail credit as of the date of the issuance of your order from said date.” [Doc. No. 366, p. 1].

        Pursuant to 18 U.S.C. § 3585(b), the Attorney General, through the Bureau of Prisons

 (“BOP”), is charged with calculating a defendant’s credit for any time served in federal custody.

 If a defendant wishes to challenge this calculation, he must first exhaust his available

 administrative remedies through the BOP before litigating in federal court. See United States v.

 Wilson, 503 U.S. 329, 335 (1992). Then the defendant may seek review in federal court by filing

 a petition for writ of habeas corpus, pursuant to 28 U.S.C. § 2241, in the district in which he is

 incarcerated. See Pack v. Yusuff, 218 F.3d 448, 451 (5th Cir. 2000) (“A section 2241 petition on

 behalf of a sentenced prisoner attacks the manner in which a sentence is carried out or the prison

 authorities’ determination of its duration, and must be filed in the same district where the

 prisoner is incarcerated.”).

        In this case, Chappell states that he has “recently been informed by BOP officials here at

 FCI Forrest City” that BOP records do not indicate that he has been in custody since April 22,
Case 3:03-cr-30013-DEW-KLH            Document 367         Filed 02/13/13      Page 2 of 2 PageID #:
                                             1227



 2003. Thus, he does not appear to have exhausted his remedies through the BOP. Once he has

 exhausted his remedies with the BOP, if Chappell is not satisfied with its determination, he can

 file a section 2241 petition in the appropriate federal district court where he is currently

 incarcerated.

        IT IS ORDERED that Chappell’s motion [Doc. No. 366] is DENIED.

        To the extent that Chappell moves the Court for credit for time served in federal custody,

 the Court construes his letter motion as a petition for writ of habeas corpus pursuant to 28 U.S.C.

 § 2241, and

        IT IS FURTHER ORDERED that the motion, as construed, is DENIED AND

 DISMISSED WITHOUT PREJUDICE to Chappell’s right to re-file in the proper court after he

 has exhausted his administrative remedies.

        MONROE, LOUISIANA, this 13th day of February, 2013.




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